                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:04-cr-00250-RJC

 USA,                                          )
                                               )                       ORDER
         vs.                                   )
                                               )
 JOHN MICHAEL MCDOWELL,                        )
                                               )




        THIS MATTER is before the Court upon motions of the defendant to reconsider the

imposition of court-appointed counsel fees. (Doc. Nos. 781, 782).

        The Court sentenced the defendant on October 18, 2005, and entered its Judgment on

November 3, 2005. (Doc. No. 317). As part of the sentence, the Court ordered the defendant to

pay the cost of his court-appointed attorney. (Id. at 4). The United States Court of Appeals for

the Fourth Circuit affirmed the defendant’s sentence on September 5, 2006; therefore, the

Judgment became final on or about December 4, 2006. Fed. R. App. P. 4(b) (2008); United

States v. Clay, 537 U.S. 522, 525 (2003) (conviction becomes final when time runs for seeking

appellate review). The defendant has not shown that the Court has the authority to alter the final

Judgment, Fed. R. Crim. P. 35, or to remit the financial obligation on his motion, 18 U.S.C. §

3573.

        IT IS, THEREFORE, ORDERED, that the defendant’s Motions to Reconsider Court-

Appointed Counsel Fees (Doc. Nos. 781, 782) are DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.


                                              Signed: July 29, 2015




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